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 8
 9                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
10
11
       Orlando Garcia,                           Case No.
12
                 Plaintiff,
13                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
14                                               Of: American’s With Disabilities
       Food Industries International,            Act; Unruh Civil Rights Act
15     Inc., a California Corporation; and
       Does 1-10,
16
                 Defendants.
17
18
           Plaintiff Orlando Garcia complains of Food Industries International,
19
     Inc., a California Corporation; and Does 1-10 (“Defendants”), and alleges as
20
     follows:
21
22
23     PARTIES:
24     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
25   level C-5 quadriplegic. He also suffers from Cerebral Palsy. He has manual
26   dexterity issues. He uses a wheelchair for mobility.
27     2. Defendant Food Industries International, Inc. owned Seafood Ranch
28   Market located at or about 3756 W. Ave 40, Los Angeles, California, in


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 1   February 2020.
 2     3. Defendant Food Industries International, Inc. owns Seafood Ranch
 3   Market (“Store”) located at or about 3756 W. Ave 40, Los Angeles, California,
 4   currently.
 5     4. Plaintiff does not know the true names of Defendants, their business
 6   capacities, their ownership connection to the property and business, or their
 7   relative responsibilities in causing the access violations herein complained of,
 8   and alleges a joint venture and common enterprise by all such Defendants.
 9   Plaintiff is informed and believes that each of the Defendants herein,
10   including Does 1 through 10, inclusive, is responsible in some capacity for the
11   events herein alleged, or is a necessary party for obtaining appropriate relief.
12   Plaintiff will seek leave to amend when the true names, capacities,
13   connections, and responsibilities of the Defendants and Does 1 through 10,
14   inclusive, are ascertained.
15
16     JURISDICTION & VENUE:
17     5. The Court has subject matter jurisdiction over the action pursuant to 28
18   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
19   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
20     6. Pursuant to supplemental jurisdiction, an attendant and related cause
21   of action, arising from the same nucleus of operative facts and arising out of
22   the same transactions, is also brought under California’s Unruh Civil Rights
23   Act, which act expressly incorporates the Americans with Disabilities Act.
24     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
25   founded on the fact that the real property which is the subject of this action is
26   located in this district and that Plaintiff's cause of action arose in this district.
27
28     FACTUAL ALLEGATIONS:


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 1     8. Plaintiff went to the Store in February 2020 with the intention to avail
 2   himself of its goods, motivated in part to determine if the defendants comply
 3   with the disability access laws.
 4     9. The Store is facility open to the public, a place of public accommodation,
 5   and a business establishment.
 6     10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 7   to provide wheelchair accessible paths of travel inside the Store in
 8   conformance with the ADA Standards as it relates to wheelchair users like the
 9   plaintiff.
10     11. On information and belief, the defendants currently fail to provide
11   wheelchair accessible paths of travel inside the Store.
12     12. These barriers relate to and impact the plaintiff’s disability. Plaintiff
13   personally encountered these barriers.
14     13. As a wheelchair user, the plaintiff benefits from and is entitled to use
15   wheelchair accessible facilities. By failing to provide accessible facilities, the
16   defendants denied the plaintiff full and equal access.
17     14. The failure to provide accessible facilities created difficulty and
18   discomfort for the Plaintiff.
19     15. Even though the plaintiff did not confront the barriers, on information
20   and belief the defendants currently fail to provide wheelchair accessible check
21   stands.
22     16. Additionally, on information and belief the defendants currently fail to
23   provide wheelchair accessible ticket dispenser in the deli section of the Store.
24     17. Plaintiff seeks to have these barriers removed as they relate to and
25   impact his disability.
26     18. The defendants have failed to maintain in working and useable
27   conditions those features required to provide ready access to persons with
28   disabilities.


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 1     19. The barriers identified above are easily removed without much
 2   difficulty or expense. They are the types of barriers identified by the
 3   Department of Justice as presumably readily achievable to remove and, in fact,
 4   these barriers are readily achievable to remove. Moreover, there are numerous
 5   alternative accommodations that could be made to provide a greater level of
 6   access if complete removal were not achievable.
 7     20. Plaintiff will return to the Store to avail himself of its goods and to
 8   determine compliance with the disability access laws once it is represented to
 9   him that the Store and its facilities are accessible. Plaintiff is currently deterred
10   from doing so because of his knowledge of the existing barriers and his
11   uncertainty about the existence of yet other barriers on the site. If the barriers
12   are not removed, the plaintiff will face unlawful and discriminatory barriers
13   again.
14     21. Given the obvious and blatant nature of the barriers and violations
15   alleged herein, the plaintiff alleges, on information and belief, that there are
16   other violations and barriers on the site that relate to his disability. Plaintiff will
17   amend the complaint, to provide proper notice regarding the scope of this
18   lawsuit, once he conducts a site inspection. However, please be on notice that
19   the plaintiff seeks to have all barriers related to his disability remedied. See
20   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
21   encounters one barrier at a site, he can sue to have all barriers that relate to his
22   disability removed regardless of whether he personally encountered them).
23
24   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
25   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
26   Defendants.) (42 U.S.C. section 12101, et seq.)
27     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
28   again herein, the allegations contained in all prior paragraphs of this


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 1   complaint.
 2     23. Under the ADA, it is an act of discrimination to fail to ensure that the
 3   privileges, advantages, accommodations, facilities, goods and services of any
 4   place of public accommodation is offered on a full and equal basis by anyone
 5   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 6   § 12182(a). Discrimination is defined, inter alia, as follows:
 7            a. A failure to make reasonable modifications in policies, practices,
 8                or procedures, when such modifications are necessary to afford
 9                goods,    services,    facilities,   privileges,    advantages,   or
10                accommodations to individuals with disabilities, unless the
11                accommodation would work a fundamental alteration of those
12                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
13            b. A failure to remove architectural barriers where such removal is
14                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
15                defined by reference to the ADA Standards.
16            c. A failure to make alterations in such a manner that, to the
17                maximum extent feasible, the altered portions of the facility are
18                readily accessible to and usable by individuals with disabilities,
19                including individuals who use wheelchairs or to ensure that, to the
20                maximum extent feasible, the path of travel to the altered area and
21                the bathrooms, telephones, and drinking fountains serving the
22                altered area, are readily accessible to and usable by individuals
23                with disabilities. 42 U.S.C. § 12183(a)(2).
24     24. When a business provides paths of travel, it must provide accessible
25   paths of travels.
26     25. Here, accessible paths of travel have not been provided.
27     26. When a business provides facilities such as check stands, it must provide
28   accessible check stands.


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 1     27. Here, accessible check stands have not been provided.
 2     28. When a business provides facilities such as ticket dispensers, it must
 3   provide accessible ticket dispensers.
 4     29. Here, accessible ticket dispensers have not been provided.
 5     30. The Safe Harbor provisions of the 2010 Standards are not applicable
 6   here because the conditions challenged in this lawsuit do not comply with the
 7   1991 Standards.
 8     31. A public accommodation must maintain in operable working condition
 9   those features of its facilities and equipment that are required to be readily
10   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
11     32. Here, the failure to ensure that the accessible facilities were available
12   and ready to be used by the plaintiff is a violation of the law.
13
14   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
15   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
16   Code § 51-53.)
17     33. Plaintiff repleads and incorporates by reference, as if fully set forth
18   again herein, the allegations contained in all prior paragraphs of this
19   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
20   that persons with disabilities are entitled to full and equal accommodations,
21   advantages, facilities, privileges, or services in all business establishment of
22   every kind whatsoever within the jurisdiction of the State of California. Cal.
23   Civ. Code §51(b).
24     34. The Unruh Act provides that a violation of the ADA is a violation of the
25   Unruh Act. Cal. Civ. Code, § 51(f).
26     35. Defendants’ acts and omissions, as herein alleged, have violated the
27   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
28   rights to full and equal use of the accommodations, advantages, facilities,


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 1   privileges, or services offered.
 2      36. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 3   discomfort or embarrassment for the plaintiff, the defendants are also each
 4   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 5   (c).)
 6
 7             PRAYER:
 8             Wherefore, Plaintiff prays that this Court award damages and provide
 9   relief as follows:
10           1. For injunctive relief, compelling Defendants to comply with the
11   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
12   plaintiff is not invoking section 55 of the California Civil Code and is not
13   seeking injunctive relief under the Disabled Persons Act at all.
14           2. Damages under the Unruh Civil Rights Act, which provides for actual
15   damages and a statutory minimum of $4,000 for each offense.
16           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
17   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
18
     Dated: March 9, 2020                 CENTER FOR DISABILITY ACCESS
19
20
                                          By:
21
22                                        ______________________________
23                                               Russell Handy, Esq.
                                                 Attorney for plaintiff
24
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27
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